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          IN THE FEDERAL COURT FOR THE EASTERN DISTRICT OF VIRGINIA
                             Newport News Division

CATHERINE GILLENWATERS,
and
KEARA MAHONEY,
    Plaintiffs,

v.                                                               CASE NO. 4:19-cv-102

YORK COUNTY SCHOOL BOARD,
and
HAROLD STRICKLAND,
    Defendants

                                             COMPLAINT

          Comes now your Plaintiffs, by counsel, and file this Complaint against the Defendants, in

support of which they state as follows:

     I.        Introduction

          1.      This is a suit brought against the York County School Board under Title IX of the

Education Amendments Act of 1972, as amended, and specifically 20 U.S.C. § 1681(a) and

related provisions of law, alleging unlawful sexual harassment, assault, and discrimination. A

private right of action is implied under Title IX, with money damages available as a remedy.

Cannon v. Univ. of Chicago, 441 U.S. 677, 709, 99 S. Ct. 1946, 60 L. Ed. 2d 560 (1979);

Franklin v. Gwinnett County Pub. Sch., 503 U.S. 60, 75, 112 S. Ct. 1028, 117 L. Ed. 2d 208

(1992). It is brought against Harold Strickland under 42 U.S.C. § 1983 and related provisions of

law, for violation of the Fourteenth Amendment Equal Protection Clause by Harold Strickland.

Additionally, state battery claims are alleged against Strickland. The suit relates to the conduct of

Harold Strickland in late 2017 through the first part of 2018.

          2.      The plaintiffs join their claims pursuant to FRCP 20, as their rights of relief arise

out of the same series of transactions or occurrences and common questions of law or fact will

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arise in this action. The Plaintiffs also join state claims under the Court’s supplemental

jurisdiction, pursuant to Rule 18. The Plaintiffs join the Defendants with respect to the claims, as

the claims arise out of the same series of transactions or occurrences and questions of law or fact

common to all defendants will arise in the action

       3.      This Court has jurisdiction over the federal claims pursuant to 28 U.S.C. § 1331,

and it has jurisdiction over the state claims pursuant to 28 U.S.C. § 1367. This Court is the

proper venue for this action under 28 U.S.C. § 1391 and Local Civil Rule 3, as a substantial part

of the events or omissions giving rise to the claim occurred in York County, Virginia.

       4.      The York County School Board (“School Board”) supervises Bruton High

School, located in the unincorporated community of Lightfoot, in York County, which is in the

York County School Division. See Va. Code §§ 22.1-29, -71.

       5.      Bruton High School is an educational institution receiving federal funds.

Additionally, the York County School Division receives federal funds.

       6.      In November 2017, the School Board hired Harold Strickland as the head coach

for the women’s basketball team at Bruton High School. In that capacity, Strickland exercised

enormous control over aspects of the lives of the team members, including team membership,

practice and performance obligations, positions, and future scholarship eligibility and potential

educational opportunities based on the scholarship.

       7.      In that position, he was to be in close proximity with the female players,

individually or jointly, often on a daily basis, and for periods of time. As a staff member of the

sports program, he would also have influence with other coaching staff, and with the school

administration.




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         8.       Strickland was also the In-School Suspension/Detention (“ISS”) teacher. This

gave him supervisory and disciplinary authority over students beyond the sports program, and

interaction with students in private or semi-private settings. He had a classroom designated for

his use, over which he had authority.

         9.       Keara Mahoney and Catherine Gillenwaters were both students at Bruton High

School in the 2017 to 2018 school year. Both of them were minors at the time of the incidents.


   II.         Facts Pertaining to Mahoney

         10.      Shortly after being hired, Strickland began to engage in grooming behaviors

towards Keara Mahoney, a junior who was a member of the women’s basketball team. For

instance:

                         a. He told her that she was his favorite member of the basketball team

                             and that he was always there for her.

                         b. He often promised or intimated that she could get a college sports

                             scholarship and would be able to go to colleges easily because he had

                             significant connections with college coaches.

                         c. He acquired Ms. Mahoney’s number without her knowledge. He then

                             started asking her to text him whenever she needed him.

                         d. In December, Coach Strickland pretended to feature Mahoney in the

                             rotation and gave her a starting position on the team, which she never

                             had before. Coach Strickland further obtained her residential address

                             and offered her rides from home so that he could take her to games

                             alone. Feeling uncomfortable about the offers, Mahoney refused his

                             rides, but Coach Strickland insisted on the arrangement.

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       11.     Mahoney reported this conduct to Assistant Coach Lakeisha Warren. Warren

intervened to direct Strickland not to offer rides to Mahoney but failed to take further action to

protect Mahoney.

       12.     After Mahoney reported the rides to Warren, Strickland removed Mahoney from a

starting position, in January 2018.

       13.     Subsequently, Coach Strickland reinitiated his inappropriate grooming of

Mahoney. This included:

                       a. He engaging her to participate in a one-on-one private basketball

                           practice sessions. Coach Strickland made requests for such private

                           practice sessions with Ms. Mahoney on a daily basis. Sometimes, he

                           would initiate one-on-one practice with Mahoney if she arrived earlier

                           than other team members.

                       b. He again offered to pick her up from her residence and transport her to

                           these practices. She felt that if she didn’t comply with his requests, he

                           would reduce her play time or number of starts, and may not help her

                           to get into college.

                       c. During a private practice session, Coach Strickland asked Mahoney to

                           constantly engage in ball exercises where he put his hands on her hips

                           and repeatedly pulled her butt against his groin, to the point that

                           Mahoney felt his genitals. She felt humiliated and powerless, hoping

                           the practice to end as quick as possible. She felt she had to tolerate

                           this inappropriate behavior to avoid any retaliation. In regular practice

                           sessions, Coach Strickland would instead use a basketball resistance


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                           band, as appropriate, when it was necessary to engage in such ball

                           exercises with the players, which would avoid any inappropriate

                           physical contact.

                       d. To reward Mahoney for engaging in these one-on-one sessions, and as

                           further grooming, Strickland elevated Mahoney to be captain of the

                           women’s basketball team. He also began to text Ms. Mahoney more

                           often and started inviting her to games of other institutions outside of

                           the school.

       14.     Mahoney further noticed that Coach Strickland regularly appeared during her

lunch section and engaged in conversations with her. Students’ lunch schedules were varied and

there were at least three different lunch sections to coordinate with students’ class schedules.

Seeing Strickland often during her lunch caused Mahoney to believe Strickland might be

purposely following her schedule in order to talk with her. She would also see him in different

parts of the school at least twice a day.

       15.     This behavior caused Mahoney feelings of substantial stress and anxiety, affecting

her ability to attend to her responsibilities as a student, such as homework and paying attention in

class. It caused her to cry at practices and at games, which her parents recognized as out of

character for her. However, she felt she would lose her position on the basketball team and

potential scholarship opportunities if she failed to comply with Strickland’s requests and submit

to his behavior.

       16.     Feeling humiliated by Strickland’s constant grooming and harassments, Mahoney

eventually sought help from Coach Richard Honesty, the Athletic Director, by revealing to him

Coach Strickland's behaviors and also expressing her feelings of depression surrounding her


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experience on the basketball team. Coach Honesty failed to report the incidents to other school

officials or to take action to prevent recurrences of this behavior by Strickland, even though he

had detailed knowledge of Coach Strickland’s behavior and authority to take action as the

Athletic Director.

          17.   In February, Coach Strickland took Mahoney to a Menchville basketball game

together, but he did not speak about basketball at all and even left early with her. For one Bruton

women's basketball game in February, Coach Strickland ignored Warren's waning and offered

Ms. Mahoney another ride home.

          18.   Mahoney suffered a knee injury in February that limited her involvement in

training and gameplay. Strickland became aggressive with her and cussed at her. Mahoney felt

that she could not take more harassment from Strickland and thereafter quit the basketball team

to escape him. Strickland, however, began to attend Mahoney’s soccer games. Strickland

continued the grooming behaviors, telling her for instance that “I wouldn’t miss it [the soccer

game]” and she was his “number one star.” This behavior caused her to feel great anxiety to her.

          19.   Prior to this behavior, Mahoney was passionate about sports and was very active

in school sports. She played three sports and felt that she had a great chance to get a college

scholarship in soccer. However, because she could not sustain the constant pressure and attention

from Strickland, she subsequently gave up all the sports completely, including her favorite sport

soccer.

          20.   Mahoney was traumatized by this sexual harassment and manipulation, and she

began her long-term therapy. She subsequently dropped out of Bruton High School prior to her

senior year because of the experience.




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          21.      As a result of this conduct, Mahoney suffered severe emotional distress. More

importantly, she was unable to finish her senior year in high school and has been in online high

school program after dropping out from Bruton High School. She is significantly behind in

applying for colleges.

   III.         Facts Pertaining to Gillenwaters

     22.           Meanwhile, beginning in or around January 2018, Strickland began to engage in

grooming behaviors with Catherine Gillenwaters. Gillenwaters was not a member of the

basketball team and did not have substantive prior interactions with Strickland.

          23.      After learning that Gillenwaters had an interest in joining Air Force, Strickland

presented himself to her as a father figure who had many resources and connections in the

military and was eager to help her with her future. Claiming that he wanted to mentor her

concerning her interest in the Air Force, Strickland was repeatedly adamant in inviting

Gillenwaters to his office/classroom.

          24.      During these meetings, Strickland repeatedly encouraged Gillenwaters to leave

her boyfriend. He also criticized her boyfriend but would abruptly end the conversations when

someone else entered the room. Strickland tried to convince her that her current relationship

wouldn’t last if she chose to join the Air Force. Strickland would repeatedly ask Gillenwaters,

“Did you leave your boyfriend yet?” in the school hallway, claiming that he was “teasing” her.

          25.      After meeting with him a few times, Gillenwaters was concerned about the

behavior she witnessed, and reported this behavior to her math teacher -- soccer coach Luke

Taylor. Taylor was dismissive of the concerns, emphasizing that Strickland was a good man with

a wife and kids and that he was just approaching her a bit awkwardly.




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          26.   Based on this report of Taylor, Gillenwaters continued to meet with Strickland, in

his office/classroom, alone. Being assured by Taylor, she considered Strickland as a useful

resource whom she could trust.

          27.   Strickland then signed up for Snapchat (a cell phone or computer based instant

messaging service) to contact Gillenwaters. Strickland would comment on her body and

appearance and her sex life when alone with her.

          28.   Strickland made comments about how Gillenwaters had “lost her virginity” to her

boyfriend and suggested that Gillenwaters would engage is lesbian sex if she went to a women’s

college, suggesting she would probably do it without thinking if she got drunk or was high.

          29.   In one of these conversations, Gillenwaters once told Strickland about an incident

that occurred involving a man who annoyed her at her workplace. Strickland told Gillenwaters

that this man “just wants you to sit on his face till you cum,” and began asking Gillenwaters if

she would engage in oral sex with him for money, or if she would do so if he were younger or

better-looking, or if he put plastic wrap between her and his face. Gillenwatters immediately

reported this to another student, and Strickland repeated these comments to the other student.

          30.   Gillenwaters again revealed this inappropriate conversation with Strickland and

Stricklands degrading comments to Taylor, but Taylor simply told her to just "keep an eye on it."

He subsequently acknowledged that he should have reported the conduct, given the information

he had.

          31.   Strickland arranged private meetings with Gillenwaters at least 3 to 4 times in a

month. Feeling extremely disgusted and humiliated by Strickland’s comments during those

meetings, Gillenwaters discontinued meeting with Strickland and tried to avoid him. When she




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encountered Strickland, she tried to be pleasant to avoid conflict, but Strickland attempted

repeatedly to reengage her in grooming activity.

       32.     Similar to his grooming strategy toward Mahoney, Strickland would often come

to Gillenwaters during her lunch time. Gillenwaters then realized that Strickland might have

intentionally learned about her lunch schedule and followed it accordingly.

       33.     On multiple occasions, he told her that he missed their talks and initiated

unwanted hugs and touching. On another occasion, he suggested taking some of the girls on the

basketball team to the movies and asked for her number. He referred to this as a “date,” and

initiating a hug on that occasion as well.

       34.     Ms. Gillenwaters started feeling stressed about going places outside of her

classroom. When the school bell rang, she felt anxiety that Strickland would come out of his

classroom and initiate conversations with her or hug/touch her. She felt that Strickland probably

knew her schedule and purposely waited for her in certain locations in order to talk with her. She

would see him 2 to 3 times a day. She even felt extremely uncomfortable going to the school

cafeteria because she often encountered Strickland at the cafeteria. Strickland would not miss a

chance to invite her to “hang out” with him and ask her to “stop by” his office/classroom. During

this period of time, Ms. Gillenwaters started to experience panic and fear` while walking in the

school hallway, because Strickland was “always there”. Receiving no help from Coach Taylor

after multiple complaints, she was convinced that no adult teachers would help her.

       35.     Strickland’s harassing behaviors targeting Ms. Gillenwaters lasted for at least

three months, from January 2018 to March 2018.

       36.     Under extreme stress, she felt distracted from the classes and could not focus on

her studying. By the end of the semester, she felt that she had lost control over her schoolwork.


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 Her grades dropped dramatically, with her English dropping from B/C to F and Biology II from

 B/C to F.

          37.     She suffered from extreme distress due to the traumatic experience and started

 therapy to cope with it.

          38.     Her negative experiences with Strickland also influenced her to change her plans.

 She determined not to pursue the military, and not to attend the women’s college of Mary

 Baldwin, even after receiving an admission offer.



    IV.         Claims
                                             COUNT I
                               Violation of Mahoney’s Title IX Rights
                                Against York County School Board

          39.     The allegations of this complaint are incorporated in this Count.

          40.     20 U.S.C. § 1681 provides, in relevant part that “No person in the United States

 shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or be

 subjected to discrimination under any education program or activity receiving Federal financial

 assistance.”

          41.     As stated above, Mahoney was enrolled at an educational institution receiving

 federal funds.

          42.     As supported by the allegations above, Mahoney was subjected to severe and

 pervasive harassment and unwanted physical contact based on sex.

          43.     As supported by the allegations above, the harassment was sufficiently severe or

 pervasive to create a hostile environment in an educational program or activity.




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        44.       As supported by the allegations above, including specifically the reports of

 suspicious or objectionable conduct to Warren, Honesty, and Taylor, the institution had actual

 knowledge of coach/ISS teacher-on-student sexual harassment.

        45.       As supported by the allegations above, between at least January 2018 and

 February 2018, the institution’s response to the conduct was clearly unreasonable, causing

 Mahoney compensable damages.

                                             COUNT II
                             Violation of Gillenwaters’ Title IX Rights
                                Against York County School Board

        46.       The allegations of this complaint are incorporated in this Count.

        47.       20 U.S.C. § 1681 provides, in relevant part that “No person in the United States

 shall, on the basis of sex, be excluded from participation in, be denied the benefits of, or be

 subjected to discrimination under any education program or activity receiving Federal financial

 assistance.”

        48.       As stated above, Gillenwaters was enrolled at an educational institution receiving

 federal funds.

        49.       As supported by the allegations above, Gillenwaters was subjected to severe and

 pervasive harassment and unwanted physical contact based on sex.

        50.       As supported by the allegations above, the harassment was sufficiently severe or

 pervasive to create a hostile environment in an educational program or activity.

        51.       As supported by the allegations above, including specifically the reports of

 suspicious or objectionable conduct to Warren, Honesty, and Taylor, the institution had actual

 knowledge of coach/ISS teacher-on-student sexual harassment.




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        52.       As supported by the allegations above, between at least January 2018 and March

 2018, the institution’s response to the conduct was clearly unreasonable, causing Gillenwaters

 compensable damages.

                                           COUNT III
                          Violation of Mahoney’s Equal Protection Rights
                                        Against Strickland

        53.       The allegations of this complaint are incorporated in this Count.

        54.       As supported by the allegations above, between November 2017 and February

 2018, Strickland, acting under color of law as an employee of the York County School Division,

 deprived Mahoney of her Fourteenth Amendment right to be free from sexual harassment in a

 public educational setting. As supported by his allegations above, his conduct was severe or

 pervasive to interfere unreasonably with her educational activities. See Jennings v. Univ. of N.C.,

 482 F.3d 686, 701 (4th Cir. 2007). Mahoney suffered damages that are compensable under 42

 U.S.C. § 1983.

        55.       Strickland’s conduct was malicious, intentional, or recklessly or callously

 indifferent to Mahoney’s protected rights. As such, an award of punitive damages is appropriate.

                                            COUNT IV
                        Violation of Gillenwater’s Equal Protection Rights
                                         Against Strickland

        56.       The allegations of this complaint are incorporated in this Count.

        57.       As supported by the allegations above, between January 2018 and March 2018,

 Strickland, acting under color of law as an employee of the York County School Division,

 deprived Gillenwaters of her Fourteenth Amendment right to be free from sexual harassment in a

 public educational setting. As supported by his allegations above, his conduct was severe or

 pervasive to interfere unreasonably with her educational activities. See Jennings v. Univ. of N.C.,


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 482 F.3d 686, 701 (4th Cir. 2007). Gillenwaters suffered damages that are compensable under 42

 U.S.C. § 1983.

        58.       Strickland’s conduct was malicious, intentional, or recklessly or callously

 indifferent to Gillenwaters’s protected rights. As such, an award of punitive damages is

 appropriate.

                                             COUNT V
                                         Battery of Mahoney
                                         Against Strickland

        59.       The allegations of this complaint are incorporated in this Count.

        60.       As supported by the allegations above, Strickland engaged in intentional,

 unwelcomed, physical contact with Mahoney. Compensatory and punitive damages are

 appropriate.

                                             COUNT VI
                                       Battery of Gillenwaters
                                         Against Strickland

        61.       The allegations of this complaint are incorporated in this Count.

        62.       As supported by the allegations above, Strickland engaged in intentional,

 unwelcomed, physical contact with Gillenwaters. Compensatory and punitive damages are

 appropriate.

                63. Ad Damnum

        Wherefore, the Plaintiff’s each request judgment against the defendants in the amount of

 $50,000 in compensatory damages, jointly and/or severally, and in punitive damages against

 Harold Strickland, along with an award of costs and attorney fees pursuant to 42 U. S. C. § 1988,

 and such further and additional relief as may be appropriate.

        TRIAL BY JURY DEMANDED.


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                                                        Respectfully requested,
                                                        CATHERINE GILLENWATERS,
                                                        And KEARA MAHONEY
                                                        By: _/s/ Andrew T. Bodoh_
                                                                  Counsel

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